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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES – GENERAL

 Case No.          2:24-cv-03455-MRA-JPR                                Date     January 3, 2025
 Title             Quaid, et al. v. Granet, et al.


 Present: The Honorable            MÓNICA RAMÍREZ ALMADANI, UNITED STATES DISTRICT JUDGE

                      Gabriela Garcia                                      None Present
                       Deputy Clerk                                        Court Reporter
             Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                         None Present                                       None Present
 Proceedings:                  (IN CHAMBERS) ORDER GRANTING DEFENDANTS’
                               MOTIONS TO DISMISS WITHOUT LEAVE TO AMEND [ECF 75,
                               76, 77, 78, 88, 93] AND DEFENDANT BRUCE BERMAN’S
                               MOTION FOR AN ORDER DECLARING PLAINTIFFS
                               VEXATIOUS LITIGANTS [ECF 60]

       Before the Court are Defendants’ Motions to Dismiss Plaintiffs’ First Amended Complaint
(the “Motions to Dismiss”) and Defendant Bruce Berman’s Motion to Declare Plaintiffs
Vexatious Litigants and to Impose a Pre-Filing Order on Plaintiffs and for an Award of Costs
Including Attorneys’ Fees (the “Vexatious Litigants Motion”) (collectively, the “Motions”).
ECF 60, 75, 76, 77, 78, 88, 93. The Court read and considered the Motions and held a hearing
on October 31, 2024. ECF 125. For the reasons stated herein, the Court GRANTS the Motions
to Dismiss without leave to amend and the Vexatious Litigants Motion.

I.       BACKGROUND1

       Plaintiffs Randy and Evgenia Quaid (“Plaintiffs” or the “Quaids”) filed the instant action
on April 26, 2024. ECF 1. The initial Complaint alleged that on November 25, 2019,
Defendants R. Scott Turicchi and Lanette Turicchi (the “Turicchis”) brought a quiet title action in
Santa Barbara Superior Court against Plaintiffs in property located at 1355 East Mountain Drive,
Santa Barbara, California (hereinafter, the “Quiet Title Action”). Id. ¶¶ 1-2, at 2. In selling the
property to the Turicchis, Defendant Bruce Berman purportedly forged the Quaids’ signature on

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          When deciding a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), the
court is required to presume that all well-pleaded allegations are true, resolve all reasonable doubts
and inferences in the pleader’s favor, and view the pleading in the light most favorable to the non-
moving party. See infra II. As such, the factual background is described herein as alleged in
Plaintiffs’ Complaint and First Amended Complaint (“FAC”). See Ashcroft v. Iqbal, 556 U.S.
662, 679 (2009); Daniels-Hall v. NEA, 629 F.3d 992, 998 (9th Cir. 2010).
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the deed to the property. Id. ¶¶ 12-14, at 3. Defendant Craig Granet was counsel for the
Turicchis in the Quiet Title Action. Id. ¶ 6. On November 10, 2020, the Quaids filed a cross-
complaint in the Quiet Title Action naming Defendant Fidelity National Title Insurance Company
(“Fidelity”), represented by Defendant James Hepworth, (collectively, “Fidelity Defendants”) as
cross-defendants. Id. ¶¶ 9-10, at 3. On May 3, 2023, the Quaids filed a fifth amended cross-
complaint in the Quiet Title Action. Id. ¶ 3, at 2.

       On June 7, 2023, Defendant Reggie Serrano, an employee of the Santa Barbara Police
Department (“SBPD”), accessed a police database to obtain mug shots, warrant status, and jail
inmate records of the Quaids, and then sent that information to Defendant Anthony Davis, an
Assistant District Attorney with Defendant Santa Barbara County’s District Attorney’s Office (the
“D.A.’s Office”) (collectively, “County Defendants”). Id. ¶¶ 4-5. Davis then forwarded that
information to Granet. Id. ¶ 6. The Quaids allege that Granet intended to use this information
to “defame” the Quaids in the civil case and that he was aided by Davis and Serrano. Id. ¶ 8,
at 3. It appears—though it is not entirely clear in the initial Complaint—that Hepworth
responded to their Cross-Complaint with assistance from Defendant Susan Williams, who was
Berman’s counsel in the Quiet Title Action and is Berman’s attorney in this case. See id.
¶¶ 14, 15. On these facts, Plaintiffs asserted the following claims in their initial Complaint:
(1) unauthorized furnishing of criminal history information, (2) conspiracy, and (3) forgery
against Berman. Id. at 5-7.

       Plaintiffs served all Defendants except Serrano with process. ECF 51 through 55.
Between May 22, 2024, and May 30, 2024, all Defendants who were served moved to dismiss the
original Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). ECF 58, 64, 66, 70.
Fidelity Defendants and Granet in their initial motions raised, among other arguments, that
Plaintiffs’ claims are barred by litigation privilege as set forth in California Civil Code § 47(b).
See ECF 66 at 11; ECF 70 at 9-11. On May 22, 2024, Berman also filed the instant Vexatious
Litigants Motion. ECF 60. Plaintiffs filed an Opposition to the Vexatious Litigants Motion.
ECF 100. Berman filed a Reply. ECF 110.

       On June 12, 2024, prior to adjudication of the initial motions to dismiss, Plaintiffs filed the
operative First Amended Complaint (“FAC”). ECF 72. In the FAC, Plaintiffs allege once more
that on June 7, 2023, Serrano accessed the Quaids’ criminal history and arrest records. Id. ¶ 27.
Serrano disseminated those records to Davis. Id. ¶ 28. Davis then circulated this information to
Granet, legal counsel for the Turicchis. Id. ¶ 29. Serrano, Davis, Granet, and Williams
maintained “direct lines of communication” to discuss the Quaids’ criminal history and arrest
records, and they acted in concert to publicize this information. Id. ¶¶ 44, 45. As to Berman,
the Quaids allege that he falsely signed for Randy Quaid, without authorization, to transfer title

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of the Mountain Drive property from the Quaids to the Turrichis, and in doing so, falsified the
deed. Id. ¶¶ 55-58. Notably, the Quaids omit any explicit mention of the Quiet Title Action.
Cf. id. ¶ 11 (disclosing that they filed a cross-complaint in “the Civil Lawsuit”), ¶ 29 (disclaiming
that Granet was legal counsel for the Turicchis). On these amended facts, Plaintiffs allege the
following claims: (1) invasion of privacy, (2) public disclosure of private fact, (3) conspiracy to
invade privacy, (4) negligent supervision, against Santa Barbara County only, and (5) slander of
title, against Berman only. Id. ¶¶ 22-61.

      Defendants filed the instant Motions to Dismiss the FAC pursuant to Federal Rule of Civil
Procedure 12(b)(6). ECF 75 through 78, 88, 93. Plaintiffs opposed the Motions to Dismiss.
ECF 96, 98, 99, 100, 104, 108. Defendants filed Replies. ECF 109 through 115.

II.      LEGAL STANDARD

        Federal Rule of Civil Procedure 12(b)(6) permits dismissal for “fail[ure] to state a claim
upon which relief [can] be granted.” When deciding a motion to dismiss under Rule 12(b)(6)
“all material facts are accepted as true and are construed in the light most favorable to the
plaintiff.” Wilson v. Hewlett-Packard Co., 668 F.3d 1136, 1140 (9th Cir. 2012) (citing Coal. For
ICANN Transparency, Inc. v. VeriSign, Inc., 611 F.3d 495, 501 (9th Cir. 2010)); see also Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 555 (2007). Dismissal is appropriate only where the complaint
lacks a cognizable legal theory or sufficient facts to support a cognizable legal theory. See
Johnson v. Riverside Healthcare Sys., LP, 534 F.3d 1116, 1121 (9th Cir. 2008). In other words,
a complaint must “state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570.
“A claim has facial plausibility when the plaintiff pleads factual content that allows the court to
draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft
v. Iqbal, 556 U.S. 662, 678 (2009) (per curiam). This is “a context-specific task that requires the
reviewing court to draw on its judicial experience and common sense.” Id. at 679.

       Although the court “must accept as true all of the allegations contained in a complaint,” it
is “not bound to accept as true a legal conclusion couched as a factual allegation.” Id. at 678
(citing Twombly, 550 U.S. at 555). “Threadbare recitals of the elements of a cause of action,
supported by mere conclusory statements, do not suffice.” Id. “[W]here the well-pleaded facts
do not permit the court to infer more than the mere possibility of misconduct, the complaint has
alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Id. at 679 (quoting
Fed. R. Civ. P. 8(a)(2)).




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III.     DISCUSSION

         A.       Claim Presentation Requirement (Claims 1-4 against County Defendants)

        The California Government Claims Act (“CGCA”) requires the presentation of “all claims
for money or damages against local public entities.” Cal. Gov’t Code § 905. Claims for
personal injury and property damage must be presented within six months after accrual, and all
other claims must be presented within a year. Id. § 911.2. The claim presentation requirement
applies to causes of action against a public entity as well as those against a public employee for
acts or omissions in the scope of their employment. Id. § 950.2. “[N]o suit for money or
damages may be brought against a public entity on a cause of action for which a claim is required
to be presented . . . until a written claim therefor has been presented to the public entity and has
been acted upon . . . or has been deemed to have been rejected . . . .” Id. § 945.4. As such, “[t]he
filing of a claim is a condition precedent to the maintenance of any cause of action against the
public entity and is therefore an element that a plaintiff is required to prove in order to prevail.”
DiCampli-Mintz v. Cnty. of Santa Clara, 55 Cal. 4th 983, 990 (2012) (quoting Del Real v. City of
Riverside, 95 Cal. App. 4th 761, 767 (2002)); see also City of Stockton v. Superior Ct., 42 Cal.
4th 730, 738 (“[F]ailure to timely present a claim for money or damages to a public entity bars a
plaintiff from filing a lawsuit against that entity.”).

        “The claimant bears the burden of ensuring that the claim is presented to the appropriate
public entity.” DiCampli-Mintz, 55 Cal. 4th at 991. A claim must be delivered or mailed to “the
clerk, secretary, or auditor” of the public entity. Cal. Gov’t Code § 915(a). If a claim is not
timely delivered or misdirected, a claim is deemed presented if it was “actually received by the
clerk, secretary, auditor, or board of the local public entity.” Id. § 915(e)(1). “If an appropriate
public employee or board never receives the claim, an undelivered or misdirected claim fails to
comply with the statute.” DiCampli-Mintz, 55 Cal. 4th at 992.

        In their Motion to Dismiss, County Defendants argue that Plaintiffs failed to allege
compliance with the claim presentation requirement under the CGCA. ECF 76 at 10. It is true
that the FAC does not contain any allegations that Plaintiffs satisfied the claim presentation
requirement. Plaintiffs’ “failure to allege facts demonstrating or excusing compliance with the
claim presentation requirement subjects a claim against a public entity to a demurrer for failure to
state a cause of action.” State v. Superior Ct., 32 Cal. 4th 1234, 1239 (2004).

       In their Opposition, Plaintiffs contend that they “substantially complied” with the claim
presentation requirement because they contacted three SBPD officers via email prior to filing suit.
ECF 96 at 8, Ex. 1. Plaintiffs assert that these emails “clearly outlined the nature of the claim
and the potential for litigation if not addressed.” Id. at 9. As an initial matter, Plaintiffs’
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allegations—raised for the first time in their Opposition—are irrelevant on a Rule 12(b)(6) motion
to dismiss because they do not appear in the operative pleading. See Van Buskirk v. Cable News
Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002) (“Ordinarily, a court may look only at the face
of the complaint to decide a motion to dismiss.”).

       However, even if the Court were to consider Plaintiffs’ emails, Plaintiffs would still fail to
plausibly allege substantial compliance with the claim presentation requirement. The emails
were clearly misdirected because they were sent to SBPD officers, not the entity’s clerk, secretary,
auditor, or board. And Plaintiffs fail to plausibly allege that the appropriate employees actually
received the claim as required under section 915(e)(1). Absent actual receipt, Plaintiff cannot
show substantial compliance. See DiCampli-Mintz, 55 Cal. 4th at 991-92 (reversing lower
court’s finding of substantial compliance where the claimant failed to satisfy either section 915(a)
or 915(e)(1)). The emails are also not in the form and content required by statute. See, e.g., Cal.
Gov’t Code §§ 910(a)-(b), (f) (requiring disclosure of claimant’s name, post office address, and
amount of damages claimed).

      Accordingly, the Court GRANTS County Defendants’ Motion to Dismiss for failure to
comply with the CGCA’s claim presentation requirement and DISMISSES Claims 1-4 against
County Defendants.2

         B.       Litigation Privilege (Claims 1-4 against Granet, Fidelity Defendants, Williams,
                  and the Turicchis)

         Section 47(b) of the California Civil Code provides, in pertinent part, that a publication or
broadcast made in “any . . . judicial proceeding” is privileged. This privilege is given “broad
interpretation.” Silberg v. Anderson, 50 Cal. 3d 205, 211 (1990). It “applies to any
communication (1) made in judicial or quasi-judicial proceedings; (2) by litigants or other
participants authorized by law; (3) to achieve the objects of the litigation; and (4) that have some
connection or logical relation to the action.” Id. at 212. To be in furtherance of the objects of
the litigation, a communication need only “be connected with, or have some logical relation to,
the action.” Id. at 220. The privilege applies to even those communications “made outside the
courtroom and [with] no function of the court or its officers.” Id. at 212. It is well-established
that litigation privilege “bars all tort causes of action except malicious prosecution.” Jacob B. v.

         2
        The Court does not address County Defendants’ additional arguments for dismissal
pursuant to Rule 12(b)(6), including the sufficiency of Plaintiffs’ factual allegations and
immunity, because the CGCA clearly bars Plaintiffs’ claims against the County. See ECF 76 at
10-15.
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Cnty. of Shasta, 40 Cal. 4th 948, 960 (2007). This includes causes of action for invasion of
privacy, as well as constitutionally based privacy causes of action. Id. at 960-61.

       Fidelity Defendants, Granet, Williams, and the Turicchis argue that their alleged conduct
is protected by litigation privilege. ECF 77 at 12; ECF 78 at 7-9; ECF 88 at 8-9; ECF 93 at 13.
Each was either a party or attorney of record in the Quiet Title Action. See generally ECF 1 ¶¶
1-15, at 2-3. That Plaintiffs amended their pleading to avoid explicitly mentioning the Quiet Title
Action is of no moment. See Robinson v. Salazar, 885 F. Supp. 2d 1002, 1025 n.12 (E.D.
Cal. 2012) (“A prior pleading may be superseded as a pleading, but the prior pleading may be
admissible in evidence against the pleader; e.g., as an admission or prior inconsistent statement
by the pleader.”), aff’d sub nom. Robinson v. Jewell, 790 F.3d 910 (9th Cir. 2015). The Court
also takes judicial notice of the relevant filings in the Quiet Title Action, specifically the
Turicchis’ requests for judicial notice in support of their motion to strike the Quaids’ fifth
amended cross-complaint.3

         Plaintiffs’ pleadings reflect that the Quaids filed a cross-complaint in the Quiet Title Action

         3
          The Turicchis request that the Court take judicial notice of the following court filings,
inter alia: (1) their request for judicial notice in support of their motion to strike the Quaids’ fifth
amended cross-complaint, including exhibits P and Q attached to the request and (2) their request
for supplemental judicial notice of amended exhibit Q. ECF 94 ¶¶ 1-2, Exs. A-B. Granet, who
was the Turicchis’ counsel in the Quiet Title Action, requests judicial notice of the same. ECF
77-1 ¶¶ 1-2, Exs. A-B; ECF 59. Federal Rule of Evidence 201 “permits a court to notice an
adjudicative fact if it is ‘not subject to reasonable dispute.’” Khoja v. Orexigen Therapeutics,
Inc., 899 F.3d 988, 999 (9th Cir. 2018) (quoting Fed. R. Evid. 201(b)). “A fact is ‘not subject to
reasonable dispute’ if it is ‘generally known,’ or ‘can be accurately and readily determined from
sources whose accuracy cannot reasonably be questioned.’” Id. (quoting Fed. R. Evid. 201(b)(1)-
(2)). A federal court may ‘take notice of proceedings in other courts, both within and without the
federal judicial system, if those proceedings have a direct relation to matters at issue.” United
States v. Black, 482 F.3d 1035, 1041 (9th Cir. 2007). “While the court cannot accept the veracity
of the representations made in the documents, it may properly take judicial notice of the existence
of those documents and of the ‘representations having been made therein.’” NuCal Foods, Inc.
v. Quality Egg LLC, 887 F. Supp. 2d 977, 984 (E.D. Cal. 2012) (quoting San Luis Unit Food
Producers v. United States, 772 F. Supp. 2d 1210, 1216 n.1 (E.D. Cal. 2011)). Because the Quiet
Title Action and the requests for judicial notice filed therein bear a direct relation to the matter at
hand, the Court grants the Turicchis’ and Granet’s Requests for Judicial Notice (“RJNs”).
Plaintiffs did not oppose the RJNs. Because the requests are identical in this respect, the Court
cites to only the Turicchis’ RJN.
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on May 3, 2023. ECF 1 ¶ 3, at 2; see also ECF 94 (Turicchis RJN) ¶ 1, Ex. A at 9, 61-62. On
June 12, 2023, Granet, on behalf of the Turicchis, filed a motion to strike the fifth amended cross
complaint on the ground, among others, that the Quaids are precluded from filing a cross-
complaint pursuant to the doctrine of fugitive disentitlement. ECF 93 at 7; ECF 94 ¶¶ 1-2,
Exs. A, B. In support of their motion to strike, the Turicchis requested that the D.A.’s Office
provide evidence that the Quaids were still fugitives from justice at the time of their motion.
ECF 93 at 7; ECF 94 ¶¶ 1-2, Exs. A, B. Serrano at SBPD obtained the relevant records, sent
them to Davis at the D.A.’s Office, who then forwarded the information to Granet. ECF 1 ¶¶ 4-
6, at 2; ECF 72 ¶ 27. Hepworth also communicated with Serrano, Davis, and Granet to elicit the
Quaids’ records. ECF 72 ¶ 13. Williams maintained “direct lines of communication” with the
other Defendants to discuss the records. Id. ¶ 44. Granet, on behalf of the Turicchis, then
requested that the state court take judicial notice of a screenshot of the records, attached as
exhibit Q, to establish that the Quaids were still fugitives at the time. ECF 94 ¶ 1, Ex. A. at 10,
73-78. On July 10, 2023, the Turicchis filed a supplemental request for judicial notice of the
amended exhibit Q in support of their demurrer. ECF 94 ¶ 2, Ex. B at 81-93. The amended
exhibit Q included a June 7, 2023, cover email from Davis to Berman, also attached to the FAC,
providing additional context surrounding the screenshot of records previously submitted. Id. at
87; ECF 72 ¶ 29 n.1, Ex. A.

       It is clear that the Quaids’ criminal records were obtained, shared, and submitted in
connection with judicial proceedings in the Quiet Title Action. Put differently, the publication
underlying Plaintiffs’ invasion of privacy claims consists of a communication made in judicial
proceedings, by litigants, to achieve the objects of litigation, that has some logical relation to the
action. See Silberg, 50 Cal. at 212. Even if the publication of Plaintiffs’ criminal records did
not further the interests of justice, litigation privilege is absolute and unmistakably attaches. Id.
at 218 (rejecting an “interest of justice” exception to litigation privilege).

        In their Oppositions, Plaintiffs argue that section 47(b) does not shield Defendants from
liability because it does not cover noncommunicative conduct. See, e.g., ECF 98 at 11; ECF 104
at 3-4; ECF 105 at 8-9. Plaintiffs’ reliance on Kimmel v. Goland, 51 Cal. 3d 202 (1990), is
misplaced. In Kimmel, the court narrowly held that the litigation privilege does not shield a
person from liability for illegally recording confidential telephone conversations in anticipation
of litigation. 51 Cal. 3d at 205 (explicitly disclaiming that its holding is “limited to the narrow
facts before us involving noncommunicative acts—the illegal recording of confidential telephone
conversations—for the purpose of gathering evidence to be used in future litigation”). It does
not support Plaintiffs’ contention that Defendants’ submission of Plaintiffs’ criminal records in
court proceedings and the communicative acts leading up to their filing are noncommunicative
acts that falls outside of the litigation privilege.

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       Litigation privilege is intended “to afford litigants and witnesses the utmost freedom of
access to the courts without fear of being harassed subsequently by derivative tort actions.”
Silberg, 50 Cal. 3d at 213 (internal citation omitted). That purpose is duly served here.
Accordingly, the Court GRANTS Granet’s, Fidelity Defendants’, Williams’, and the Turicchis’
Motions to Dismiss on this ground alone and DISMISSES Claims 1-4 against them.4

         C.       Res Judicata and Two-Dismissal Rule (Claim 5 against Berman)

       Berman argues that Plaintiffs’ slander-of-title claim against Berman is precluded because
Plaintiffs have voluntarily dismissed several prior actions in state court or federal court against
Berman alleging that he forged the deed to the Mountain Drive property. ECF 75 at 9-10.

        “Generally, a plaintiff’s voluntary dismissal of its case is ‘without prejudice.’” Rose Ct.,
LLC v. Select Portfolio Servicing, Inc., 119 F.4th 679, 685 (9th Cir. 2024) (quoting Fed. R. Civ.
P. 41(a)(1)(B)). However, “if the plaintiff previously dismissed any federal- or state-court action
based on or including the same claim, a notice of dismissal operates as an adjudication on the
merits.” Fed. R. Civ. P. 41(a)(1)(B). To trigger the so-called “two-dismissal rule,” the movant
must show that “(1) the plaintiff voluntarily dismissed an action in either state or federal court,
(2) thereafter the plaintiff voluntarily dismissed a second action pending in federal court, (3) the
two dismissals concerned the same claim, and (4) the plaintiff seeks to raise the twice-dismissed
claim again in federal court.” Rose Ct., 119 F.4th at 685. “The two-dismissal rule is analogous
to the res judicata inquiry.” Id. at 686; see also Owens v. Kaiser Foundation Health Plan, Inc.,
244 F.3d 708, 713 (9th Cir. 2001) (“Res judicata, also known as claim preclusion, bars litigation
in a subsequent action of any claims that were raised or could have been raised in the prior action.”
(quoting W. Radio Servs. Co. v. Glickman, 123 F.3d 1189, 1192 (9th Cir. 1997)).

       The Court takes judicial notice of the filings in Quaid v. Boyett, No. 2:20-cv-010761-FMO-
MAA (C.D. Cal.) (hereinafter, the “2020 Federal Action”).5 The complaint filed in the 2020
Federal Action alleged that Berman and his wife “fraudulently and negligently acquired and
transferred to themselves real property . . . belonging to plaintiffs.” ECF 59 at 4, Ex. 16 ¶¶ 17,

         4
          Based on this holding, the Court need not address the numerous other grounds for
dismissal submitted by Berman, the Turicchis, Fidelity Defendants, and Williams.
       5
         Berman requests that the Court take judicial notice of the following filings in Quaid v.
Boyett, No. 2:20-cv-010761-FMO-MAA (C.D. Cal.): (1) the complaint, (2) the first amended
complaint, and (2) the Quaids’ notice of dismissal. ECF 59 at 4, Exs. 16-18. Because these
documents are appropriately subject to judicial notice, see Black, 482 F.3d at 1041, the Court takes
judicial notice of their contents.
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37. The Quaids further alleged that the Bermans “transferred the property to a third party.” Id.
¶¶ 19, 37. The Quaids brought a single claim against Berman for negligent interference with
prospective economic advantage, based in part on the allegations that the Bermans “engaged in
wrongful and negligent conduct through their fraudulent acquisition and transfer of plaintiff’s real
property without plaintiff’s knowledge or consent.” Id. ¶ 40. Plaintiffs voluntarily dismissed
the 2020 Federal Action on May 30, 2021. ECF 59 at 4, Ex. 18.

         The sole claim brought against Bruce Berman in this case is for slander of title. ECF 72
¶¶ 54-61. Plaintiffs allege that Berman “falsely signed Randy Quaid’s signature to transfer the
title of [the Santa Barbara property] from the Quaids to the Turrichis [sic].” Id. ¶ 55. “The key
question in determining whether the claims are the same ‘is whether the two suits arise out of the
same transactional nucleus of facts.” Rose Ct., 119 F.4th at 686 (quoting Owens, 244 F.3d at
714). That is, “a subsequent claim is the same as a previously dismissed claim if it arises from
the same set of facts as the first action and the claim could have been or was raised in the preceding
action.” Id.; see also Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg'l Plan. Agency, 322 F.3d
1064, 1078 (9th Cir. 2003) (“Newly articulated claims based on the same nucleus of facts may
still be subject to a res judicata finding if the claims could have been brought in the earlier
action.”). It is clear that Plaintiffs could have brought their slander-of-title claim in the 2020
Federal Action because it is based on the same transactional nucleus of facts.

        The Court takes judicial notice of the documents filed in Quaid v. Berman, No. 2:21-cv-
04793-ODW-JPR (C.D. Cal.) (the “2021 Federal Action”).6 The Quaids’ verified complaint in
the 2021 Federal Action, filed on June 11, 2021, alleged that in January 1992, Berman caused to
be recorded a purportedly forged grant deed and deed of trust, and that both instruments were
fraudulent instruments. ECF 59 at 4, Ex. 22 ¶¶ 15-17. On these facts, the Quaids brought claims
for, inter alia, quiet title and declaratory relief. Id. ¶¶ 33-49. The Quaids filed a notice of
voluntary dismissal in the 2021 Federal Action on October 8, 2021. ECF 59 at 5, Ex. 25. On
October 13, 2021, the district court issued a minute order dismissing the case and further advising
the Quaids of the two-dismissal rule. Id. at 5, Ex. 26. Once more, because Plaintiffs’ claims in
the 2021 Federal Action are based on the same transactional nucleus of facts, their slander-of-title


         6
        Berman requests that the Court take judicial notice of the following filings in Quaid v.
Berman, No. 2:21-cv-04793-ODW-JPR (C.D. Cal.): (1) the complaint, (2) the declaration of
Susan Williams, (3) Berman’s motion to dismiss the Quaids’ first amended complaint, (4) the
Quaids’ notice of dismissal, and (5) civil minutes regarding the notice of voluntary dismissal.
ECF 59 at 4-5, Exs. 22-26. Because these documents are appropriately subject to judicial notice,
see Black, 482 F.3d at 1041, the Court takes judicial notice of their contents.
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claim could have been brought in the 2021 Federal Action.

       The two-dismissal rule squarely applies to and precludes Plaintiffs’ slander-of-title claim
against Berman in this action. The purpose of the two-dismissal rule is to “limit[] a plaintiff’s
right to repeatedly dismiss the same claims to the detriment of the defendant and the court’s
docket.” Rose Ct., 119 F.4th at 687. Application of the rule in this case vindicates these
interests. Accordingly, the Court GRANTS Berman’s Motion to Dismiss on this ground and
DISMISSES Claim 5.7

         D.       Leave to Amend

        Federal Rule of Civil Procedure 15(a) provides that once the time for amending a pleading
as a matter of course has expired, “a party may amend its pleading only with the opposing party’s
written consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2). In general, “[t]he court should
freely give leave when justice so requires.” Id. “This policy is to be applied with extreme
liberality.” Owens, 244 F.3d at 712 (quoting Morongo Band of Mission Indians v. Rose, 893 F.2d
1074, 1079 (9th Cir. 1990)).

        Notwithstanding the liberal standard under Rule 15(a), leave is “not to be granted
automatically.” In re W. States Wholesale Nat. Gas Antitrust Litig., 715 F.3d 716, 738 (9th Cir.
2013) (quoting Jackson v. Bank of Hawaii, 902 F.2d 1385, 1387 (9th Cir. 1990)), aff’d sub nom.
Oneok, Inc. v. Learjet, Inc., 575 U.S. 373 (2015). In determining whether to grant leave to
amend, courts balance the following factors: (1) undue delay; (2) bad faith or dilatory motive of
the moving party; (3) repeated failure to cure deficiencies by amendments previously allowed;
(4) undue prejudice to the non-moving party by virtue of allowance of the amendment; and
(5) futility of amendment. Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir.
2003) (per curiam) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)).

         The Court finds that dismissal without leave to amend is appropriate because further
         7
          Because the claim against Berman is barred, the Court need not address Berman’s
additional argument for dismissal on statute of limitations grounds. ECF 75 at 10-13. In their
Opposition, Plaintiffs argue that discovery is needed to state additional claims for relief against
Berman. ECF 99 at 8-9. Apart from alluding to a vague “conspiracy” between Defendants, it
is altogether unclear what claims or factual allegations underlying those claims Plaintiffs intend
to assert against Berman in an amended pleading. And it is well-established that under federal
pleading requirements, a plaintiff cannot “unlock the doors of discovery . . . armed with nothing
more than conclusions. . . . [O]nly a complaint that states a plausible claim for relief survives a
motion to dismiss.” Iqbal, 556 U.S. at 678-79. Plaintiffs impermissibly attempt to do so here.
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amendment would be futile. In filing an amended pleading that omitted any mention of the
underlying Quiet Title Action, Plaintiffs engaged in dilatory tactics designed to obfuscate the
issues and avoid defenses alleged by Defendants in their initial motions to dismiss. These tactics
only served to delay proceedings and prejudice Defendants by requiring them to reassert the same
defenses. Crucially, because the grounds for dismissal discussed above are absolute bars to
liability, further amendment would be futile. Specifically, Plaintiffs cannot overcome the claim
presentation requirement, litigation privilege, and the two-dismissal rule. As to the claim
presentation requirement, the Court considered additional facts submitted by Plaintiffs in their
Opposition and found that Plaintiffs nevertheless failed to allege presentation of a claim. And
Plaintiffs cannot escape the conclusions that the communications underlying their privacy claims
are privileged and that their claims against Berman are precluded, having been previously alleged
and voluntarily dismissed in federal court at least twice.

       Accordingly, the Court DENIES leave to amend and DISMISSES Plaintiffs’ claims with
prejudice.

         E.       Declaring Plaintiffs Vexatious Litigants, Pre-Filing Order, and Award of Costs

        Berman moves the Court to declare the Quaids vexatious litigants, issue a pre-filing order
restricting their ability to bring future litigation against Berman in this court, and award Berman
costs and attorneys’ fees under Federal Rule of Civil Procedure 41(d). ECF 60. Local Rule 83-
8.1 declares it the policy of this district “to discourage vexatious litigation and to provide persons
who are subject to vexatious litigation with security against the costs of defending such litigation
and appropriate orders to control such litigation.”

                  1.          Vexatious Litigants and Pre-Filing Order

          “The All Writs Act, 28 U.S.C. § 1651(a), provides district courts with the inherent power
to enter pre-filing orders against vexatious litigants.” Molski v. Evergreen Dynasty Corp., 500
F.3d 1047, 1057 (9th Cir. 2007); see also De Long v. Hennessey, 912 F.2d 1144, 1147 (9th Cir.
1990) (“Under the power of 28 U.S.C. § 1651(a) (1988), enjoining litigants with abusive and
lengthy histories is one such form of restriction that the district court may take.”). However, such
pre-filing orders are an “extreme remedy that should rarely be used.” Molski, 912 F.2d at 1057.
“A court should enter a pre-filing order constraining a litigant’s scope of actions in future cases
only after a cautious review of the pertinent circumstances.” Id. “Nevertheless, ‘[f]lagrant
abuse of the judicial process cannot be tolerated because it enables one person to preempt the use
of judicial time that properly could be used to consider the meritorious claims of other litigants.’”
Id. (quoting De Long, 912 F.2d at 1148).

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        The Ninth Circuit has outlined four factors for district courts to consider before entering a
pre-filing order:

         First, the litigant must be given notice and a chance to be heard before the order is
         entered. Second, the district court must compile an adequate record for review.
         Third, the district court must make substantive findings about the frivolous or
         harassing nature of the plaintiff’s litigation. Finally, the vexatious litigant order
         must be narrowly tailored to closely fit the specific vice encountered.

Molski, 500 F.3d at 1057 (internal citations and quotation marks omitted).8

         The first factor, notice and opportunity to be heard, is “a core requirement of due process.”
Id. at 1058. Berman noticed and served his Vexatious Litigants Motion. ECF 60. The Quaids
opposed the Vexatious Litigants Motion and were given an opportunity to be heard on the matter.
See ECF 100, 125. Plaintiffs therefore “had fair notice of the possibility that [they] might be
declared [] vexatious litigant[s] and have a pre-filing order entered against them.” Molski, 500
F.3d at 1058.

        The second factor, an adequate record for review, should include “a listing of all the cases
and motions that led the district court to conclude that a vexatious litigant order was needed.”
Ringgold-Lockhart v. Cnty. of Los Angeles, 761 F.3d 1057, 1063 (quoting De Long, 912 F.2d at
1147). The court need not list every case filed by the Quaids, but it should “outline and discuss
many of them.” Molski, 500 F.3d at 1059. The Court takes judicial notice of the relevant filings
in the following state- and federal-court cases:9

      (1) Quaid v. City National Bank, No. BC444264 (Cal. Super. Ct.): On August 20, 2010,
the Quaids filed a complaint, pro se, alleging that living trust documents were fraudulently
prepared to steal their assets by, among others, Berman. ECF 59 at 3, Ex. 1.

        (2) Turicchi v. Quaid, No. 19CV06268 (Cal. Super. Ct.): On October 7, 2020, the Quaids
filed a cross-complaint, pro se, against Berman, among others, alleging that Berman forged the
deed. Id. at 3, Ex. 3. Berman filed a demurrer to the cross-complaint asserting, among other
things, that the cross-complaint showed that the Quaids’ forgery claim was barred by the statute
of limitations. Id. at 3, Ex. 4. Prior to the hearing on the demurrer, the Quaids filed a cross-

         8
          Plaintiffs erroneously cite the state law standard for classifying an individual a vexatious
litigant. ECF 100 at 7-15.
        9
          As explained above, filings in other court proceedings are appropriately subject to
judicial notice.
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complaint on December 30, 2020. Id. at 3, Ex. 5. Berman once more filed a demurrer set for
hearing on June 7, 2021. Id. at 3, Exs. 6, 7. On May 17, 2021, before the demurrer could be
heard, the Quaids filed a request to dismiss their cross-action. Id. at 3, Ex. 9. Two years later,
the Quaids through counsel filed a fifth amended cross-complaint once more naming Berman.
Id. at 3, Ex. 11. Once again, Berman filed a demurrer on August 7, 2023. Id. at 4, Ex. 12. The
Quaids then filed a request to dismiss the fifth amended cross-complaint on July 19, 2023. Id.
at 4, Ex. 13. On September 11, 2023, the state court issued an order granting Berman’s motion
to declare the Quaids vexatious litigants, id. at 4, Ex. 14, and on September 13, 2023, it issued a
pre-filing order. Id. at 4, Ex. 15.

       (3) Quaid v. Boyett, No. 2:20-cv-10761-FMO-MAA (C.D. Cal.): As discussed above, the
complaint filed in this action alleged that Berman and his wife fraudulently and negligently
acquired and transferred to themselves real property belonging to plaintiffs. ECF 59 at 4, Ex. 16.
Plaintiffs voluntarily dismissed their claims on May 30, 2021. ECF 59 at 4, Ex. 18.

       (4) Quaid v. Berman, No. 2:21-cv-04793-ODW-JPR (C.D. Cal.): As discussed above, the
Quaids filed a complaint on June 11, 2021, alleging that Berman forged the deed. Id. at 4, Ex. 22.
Berman filed a motion to dismiss the Quaids’ pleading and declare them vexatious litigants on
September 8, 2021. Id. at 4, Ex. 24. The Quaids thereafter filed a notice of dismissal on October
8, 2021. Id. at 5, Ex. 25. On October 13, 2021, the court entered its order dismissing the action
and denying Berman’s pending motion as moot, noting that if the Quaids previously dismissed
any federal or state court action based on or including the same claim, their notice of dismissal
operated as an adjudication on the merits. Id. at 5, Ex. 26.

      (5) Quaid v. Turicchi, No. 2:21-cv-08127-PA-AFM (C.D. Cal.): The Quaids filed a
complaint, pro se, on October 11, 2021, alleging that Berman forged the deed. Id. at 5, Ex. 33.
The court dismissed the complaint with leave to amend for lack of subject matter jurisdiction on
December 14, 2021. Id. at 5, Ex. 34. On December 14, 2021, the court dismissed the action
without prejudice, finding that the Quaids had abandoned their claims for failing to file an
amended complaint. Id. at 5, Ex. 35.

       (6) Quaid v. Granet, No. 2:23-cv-06850-MRA-JPR (C.D. Cal.): The Quaids filed a
complaint on August 18, 2023, alleging in part that Berman stole their identities and conspired to
forge the deed. Id. at 6, Ex. 36. On March 22, 2024, the court issued an order to show cause
why the action should not be dismissed for lack of prosecution. Id. at 6, Ex. 37. Berman filed
a motion to dismiss on April 15, 2024, arguing lack of personal jurisdiction, defects in process,
and defects in purported service of process. Id. at 6, Ex. 38. On April 23, 2024, the court
dismissed the action without prejudice for failure to prosecute and denied as moot Berman’s

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motion to dismiss. Id. at 6, Ex. 39.

        The third factor “gets to the heart of the vexatious litigant analysis.” Molski, 500 F.3d at
1059. “To decide whether the litigant’s actions are frivolous or harassing, the district court must
‘look at both the number and content of the filings as indicia of the frivolousness of the litigant’s
claims.’” Id. (quoting De Long, 912 F.2d at 1148). “As an alternative to frivolousness, the
district court may make an alternative finding that the litigant’s filings ‘show a pattern of
harassment.’” Ringgold-Lockhart, 761 F.3d at 1064 (quoting De Long, 912 F.2d at 1148). It is
evident from the list of cases and related filings above that the Quaids have purposefully engaged
in a pattern of filing duplicative actions against Berman in state and federal court for the sole
purpose of harassing Berman and causing the courts to needlessly expend judicial resources. The
Quaids’ malicious intent is evident from the fact that they have been on notice since at least
December 2020 that their forgery claim against Berman is time-barred, see ECF 59 at 3, Ex. 4,
but to avoid an adverse dismissal, they have strategically filed frivolous amended pleadings or
voluntarily dismissed their actions only to re-file duplicative claims in another court, see id. at 3-
4, Exs. 6, 9, 12, 13, 23. Plaintiffs’ claims are “not only . . . numerous, but . . . also patently
without merit.” Moy v. United States, 906 F.2d 467, 470 (9th Cir. 1990). Plaintiffs’ conduct
evidences a pattern of harassment.

        In their Opposition, the Quaids concede, as they must, that they have filed and subsequently
dismissed multiple actions. ECF 100 at 15. However, they insist that this was “not a strategic
tactic,” but “due to procedural issues many of which were caused by pandemic related disruptions
or because Plaintiffs did not fully understand the complexities of the judicial process.” Id. The
Court is not persuaded by this explanation, which is not supported by any sworn declaration of
Plaintiffs. Moreover, Plaintiffs’ detailed pleadings in each of the above listed cases indicates that
Plaintiffs, though often pro se, operated with sophistication and with a clear understanding of the
legal process.

       Courts should also consider “whether other, less restrictive options, are adequate to protect
the court and parties,” including sanctions pursuant to Federal Rule of Civil Procedure 11.
Ringgold-Lockhart, 761 F.3d at 1064. Although “Rule 11’s express goal is deterrence,” Warren
v. Guelker, 29 F.3d 1386, 1390 (9th Cir. 1994), the Court finds that Plaintiffs’ pattern of malicious
conduct evidences a blatant disregard of rules of practice in this district and indicates that Plaintiffs
are not likely to be deterred by a case-limited sanction under Rule 11.

        The fourth and final factor, narrow tailoring, is generally satisfied where the scope of the
pre-filing order is limited to “only the type of claims [a litigant] had been filing vexatiously.”
Molski, 500 F.3d at 1061. The requested pre-filing order provides in relevant part:

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         [T]he Clerk of the Court is directed not to accept further filings from Randy Quaid
         or Evgenia Quaid, or anyone acting on their behalf, asserting claims against Berman
         relating to the real property located at 1355 East Mountain Drive, Santa Barbara,
         California, or proceedings involving that property, without written authorization
         from a judge of the Court or a Magistrate Judge, issued upon a showing of the
         evidence supporting the claim as the judge may require.

ECF 60-1.

      The Court finds that the requested relief is narrowly tailored to the type of claims that the
Quaids have been filing vexatiously against Berman. Accordingly, the Court GRANTS
Berman’s Vexatious Litigants Motion and DECLARES Plaintiffs vexatious litigants.

                2.          Award of Costs

        Federal Rule of Civil Procedure 41(d) provides that “[i]f a plaintiff who has once dismissed
an action in any court commences an action based upon or including the same claim against the
same defendant, the court may make such order for the payment of costs of the action previously
dismissed as it may deem proper[.]” Rule 41(d) is “intended to serve as a deterrent to forum
shopping and vexatious litigation.” Esquivel v. Arau, 913 F. Supp. 1382, 1386 (C.D. Cal. 1996)
(quoting Simeone v. First Bank Nat’l Assoc., 971 F.2d 103, 108 (8th Cir. 1992)); see also
Hacopian v. U.S. Dep’t of Labor, 709 F.2d 1295, 1297 (9th Cir. 1983). An award under Rule
41(d) is appropriate where the litigant “has failed to present a persuasive explanation for the course
of litigation . . . and it is clear that defendants have incurred needless expenditures as a result.”
Esquivel, 913 F. Supp. at 1388.

        Having concluded that the slander-of-title claim asserted by the Quaids in the instant action
is identical, or near identical, to claims previously asserted against Berman in dismissed state- and
federal-court actions, the Court finds that an award of costs under Rule 41(d) is appropriate.
Courts generally require the movant to submit supplemental briefing and evidence in support of
the request and provide the non-movant an opportunity to respond. See, e.g., Milkcrate Athletics,
Inc. v. Adidas Am., Inc., 619 F. Supp. 1009, 1028 (C.D. Cal. 2022) (requiring the defendant to file
supplemental briefing as to the relevant costs and granting plaintiff leave to file an opposition);
Owen v. Hyundai Motor Am., No. 2:22-cv-00882-KJM-CKD, 2023 WL 2529782, at *4 (E.D. Cal.
Mar. 15, 2023) (ordering the defendant to file “a supplemental declaration showing what costs
and fees it represents it incurred needlessly as a direct result of [plaintiff’s] dismissal and
refiling”). Thus, Berman shall file supplemental briefing in support of his request for an award
of costs and fees, as set forth below.

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IV.      CONCLUSION

      For the foregoing reasons, the Motions to Dismiss Plaintiffs’ First Amended Complaint are
GRANTED without leave to amend, and this action is DISMISSED with prejudice. Defendant
Bruce Berman’s Motion to Declare Plaintiffs Vexatious Litigants, and to Impose a Pre-Filing
Order on Plaintiffs, and for an Award of Costs Including Attorneys’ Fees is GRANTED.

         The Court further ORDERS as follows:

         1.       Plaintiffs Randy Quaid and Evgenia Quaid are declared vexatious litigants;

       2.     The Clerk is directed to not accept further filings made by Randy Quaid or Evgenia
Quaid, or any third party acting on their behalf, asserting claims against Berman relating to the
real property located at 1355 East Mountain Drive, Santa Barbara, California, or proceedings
involving that property, without written authorization from a district judge or magistrate judge,
issued upon a showing of the evidence supporting the claim as the judge may require; and

       3.      Defendant Bruce Berman is ordered to file and serve supplemental briefing and
evidence as to costs and attorneys’ fees within fourteen (14) days of the date of this Order.
Plaintiffs may file a response to the supplemental briefing within fourteen (14) days of the date
of service of supplemental briefing.

       4.     The deadline to serve Defendant Reggie Serrano has long passed, and Plaintiffs
never requested leave to extend the service deadline. See ECF 1; Fed. R. Civ. P. 4(m). Plaintiffs
are ORDERED TO SHOW CAUSE why Serrano should not be dismissed pursuant to Rule 4(m)
within fourteen (14) days of the date of this Order. As an alternative to a written response, the
Court will consider the filing of a proof of service or a notice of voluntary dismissal by the
deadline as an appropriate response to the Court’s Order.

         IT IS SO ORDERED.

                                                                                           -     :        -
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